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13
14                         UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16
17   DOUG MINER an individual, on                 CASE NO:
     behalf of himself and other persons
18   similarly situated; MOES 1 through           CLASS ACTION
     10,000,
19                                                COMPLAINT FOR:

20                                                      1. Violation of California Labor
                  Plaintiff,                               Code section 510;
21                                                      2. Violations of the Federal Fair
                                                           Labor Standards Act;
22        vs.                                           3. Violation of California Labor
                                                           Code Section 203;
23   ECOLAB INC., a Delaware                            4. Violation of California Labor
     corporation; and DOES 1 through 100,                  Code Section 226; and
24   inclusive,                                         5. Violation of California Business
                                                           and Professions Code Section
25                 Defendants.                             17200.

26                                                         DEMAND FOR JURY TRIAL

27
28

                                            COMPLAINT
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           TO ALL INTERESTED PARTIES AND TO THEIR ATTORNEYS OF
 1
 2   RECORD:
 3
           COME NOW, PLAINTIFF DOUG MINER, and Moes 1 through 10,000
 4
 5   (collectively "Plaintiffs") and submit the following Complaint against ECOLAB INC.

 6   and DOES 1 through 100, inclusive (collectively "Defendants"), and each of them, as
 7
     follows:
 8
 9                                          PARTIES
10         1.     Plaintiff Doug Miner is a natural person who is a resident of San Diego
11
     County, California. Plaintiff has worked for Ecolab Inc. from approximately October
12
13   1987 to the present. Plaintiff was at all times relevant to this complaint an "employee"
14   of Defendant, as that term is defined under the FLSA and California state law.
15
           2.     Defendant Ecolab Inc. is an international sanitation company headquartered
16
17   in St. Paul, Minnesota, with offices in the State of California, including in this judicial
18   district. Defendant is in the business of providing, among other things, sanitation and
19
     pest control service and supplies, commercial kitchen equipment and appliance
20
21   maintenance, repair and products, and food safety services to restaurants, hospitals, food
22
     and beverage plants, laundries, schools, and retail and commercial properties. Ecolab
23
     had estimated sales of over $14 billion globally in 2014 and more than 47,000 employees
24
25   as of August, 2016.
26
           3.     Defendant is, and at times relevant to this complaint was an "employer"
27
     under the FLSA and applicable California state law, and relevant Wage Orders of the
28
                                                  2
                                              COMPLAINT
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 1   Industrial Welfare Commission.

 2                                JURISDICTION AND VENUE
 3
             4.   This Court has personal and subject matter jurisdiction over all causes of
 4
 5   action asserted herein.
 6           5.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as
 7
     Plaintiff asserts causes of action arising under federal law. This Court has supplemental
 8
 9   jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C. § 1367. In
10   addition, this Court has jurisdiction over the subject matter of the action pursuant to the
11
     Class Action Fairness Act of 2005, 28 U.S.C. sections 1332(d), 1453, and 1711 through
12
13   1715.
14           6.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), (b)(2),
15
     and (c), because Defendants transacted significant business within this district and
16
17   therefore are subject to personal jurisdiction in this district and because a substantial part
18   of the events giving rise to the claims alleged occurred in this district. Further, venue is
19
     proper in this District as this case is related to the Ladore v. Ecolab Inc. case previously
20
21   litigated in this District, pursuant to which litigation Ecolab agreed it would change and
22
     implement a compensation plan that would treat Ecolab's pest control workers as non-
23
     exempt overtime eligible employees under California law. Such compensation plan was
24
25   used not only for the class of pest workers, but also a variety of other non-exempt
26
     positions at Ecolab Inc. Whether this compensation plan is lawful under state and federal
27
     law is the subject of this lawsuit.
28
                                                   3
                                               COMPLAINT
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 1          7.      Plaintiffs are ignorant of the true names and capacities of Defendants Does

 2   1 through 100, inclusive, and by reason thereof sue said Defendants by their fictitious
 3
     names. Plaintiffs will ask leave of Court to amend this complaint to allege the true names
 4
 5   and capacity of said DOE Defendants when the same have been fully and finally

 6   ascertained.
 7
           8.       This action is brought pursuant to the Ninth Circuit holding in Morris v.
 8
 9   Ernst & Young, LLP, 2016 WL 4433080 (9th Cir. Aug. 22, 2016) holding that a class
10   action waiver violates the NLRA and "cannot be enforced." The Ninth Circuit in
11
     rendering its opinion, noted that "The Board has concluded that an employer violates the
12
13   NLRA "when it requires employees covered by the Act, as a condition of their
14
     employment, to sign an agreement that precludes them from filing joint, class, or
15
     collective claims addressing their wages, hours, or other working conditions against the
16
17   employer in any forum, arbitral or judicial." Id. at *2. Accordingly, in this case to the
18
     extent any putative class member may have signed any purported agreement waiving his
19
     or her right to file a class action relating to wages, it is unenforceable.
20
21                                  GENERAL ALLEGATIONS
22
           9.       At all relevant times herein, Plaintiff and those similarly situated were
23
     current and former employees of Ecolab who are/were non-exempt; who have worked in
24
25   California for Ecolab during the last four years, who were paid pursuant to a
26
     compensation structure that provided for an overtime rate that decreased as the worker's
27
     hours increased and as a result, have not received full and correct pay for all hours
28
                                                    4
                                                COMPLAINT
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     worked, and have not received accurate itemized wage statements required pursuant to
 1
2    Labor Code section 226; and all current and former employees of Ecolab working
3
     anywhere in the United States, who are/were non-exempt; and who have worked
 4
 5   nationwide for Ecolab during the past three years, who were paid pursuant to a

 6   compensation structure that provided for an overtime rate that decreased as the worker's
 7
     hours increased and as a result, have not received full and correct pay for all hours
 8
 9   worked. The class definition(s) are set forth more fully below.
10         10.    Plaintiff Doug Miner was a class member in a wage-and-hour
11
     misclassification case litigated in this District entitled Ladore v. Ecolab Inc., USDC Case
12
13   No. CV11-9386 GAF (FMOx) involving a class of Ecolab Service Specialists. In April
14   2012, the Ladore court certified a class of "All current and former Senior Pest Elimination
15
     Service Specialists and Pest Elimination Service Specialists employed by Defendant
16
17   Ecolab, Inc. in California from October 7, 2007 to the present." (ECF 2:11-cv-09386-
18   GAF-FMO, Doc. 30, pg. 4). In so doing, the court concluded that the so-called "haz/mat
19
     exemption" was inapplicable to the case. (Id. at pg. 18). The Ladore case followed a
20
21   previous state court class action, Roe v. Ecolab Inc., in which the same class was certified.
22
     (Id. at pg. 4). The Roe case was ultimately resolved through a mediated settlement, with
23
     the settlement amount based on a formula applied to the factual findings of an arbitrator.
24
25   (Id.). On January 22, 2013, the Ladore court issued an order relating to the parties' cross-
26
     motions for summary judgment finding that class members were non-exempt employees.
27
     (ECF 2:11-cv-09386-GAF-FMO, Doc. 65, pg. 13). On February 22, 2014, the parties
28
                                                   5
                                              COMPLAINT
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     attended a mediation before Carl J. West, a retired judge of the Los Angeles Superior
 1
 2   Court and after lengthy negotiations reached a settlement. (ECF 2:11-cv-09386-FMO-
 3
     JC, Doc. 96-1, pgs. 8 — 9). One of the terms of the settlement was that by no later than
 4
 5   June 30, 2013, Ecolab would adopt and implement a new compensation model for its Pest

 6   Elimination Service Specialists, Senior Pest Elimination Service Specialists and Select
 7
     Segment Specialists that treats them as non-exempt overtime eligible employees under
 8
 9   California law. (Id., pg. 10). On November 12, 2013, the Ladore court finally approved
10   the parties' class action settlement requiring Ecolab not only to pay approximately 400
11
     class members from the settlement fund, but to re-classify them as non-exempt for
12
13   purposes of overtime compensation. (ECF 2:11-cv-09386-FMO-JC, Doc. 112, pg. 2).
14         11.    On or about May 13, 2013, Ecolab did change its compensation plan as to
15
     its Service Specialists in California. Further, upon information and belief, Plaintiff
16
17   alleges that Ecolab changed its compensation plan as to its Service Specialists nationwide
18
     in approximately October of 2016.
19
           12.    Upon information and belief, Plaintiffs allege that other non-exempt Ecolab
20
21   employees in California and nationwide working in other divisions of Ecolab are also
22
     subject to compensation plans that provide for an overtime rate that decreases as the
23
     worker's hours increase and as a result, have not received full and correct pay for all
24
25   hours worked. Upon information and belief, in some instances, Ecolab's compensation
26
     plan results in an overall decrease in pay the more hours that are worked.
27
     ///
28
                                                 6
                                             COMPLAINT
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 1            THE PAYROLL SCHEME TO AVOID OVERTIME COMPENSATION

 2         13.    Plaintiffs allege that when Ecolab - after this District's rulings in Ladore v.
 3
     Ecolab — could no longer avoid paying overtime wages by misclassifying its Service
 4
 5   Specialists, it simply switched to using an illegal compensation plan to greatly reduce —

 6   or avoid altogether - paying overtime wages. Plaintiffs allege that the change to Ecolab's
 7
     compensation plan was merely an artifice to give the appearance of compliance with the
 8
 9   overtime requirements of state and federal law.
10         14.    Under Ecolab's "2013 Incentive Compensation Plan," which Plaintiffs
11
     allege is the current compensation plan for Ecolab's Service Specialists, Service
12
13   Specialists' compensation begins with a "base rate" then adds a "variable rate" to
14   calculate a purported "applicable hourly rate." The variable rate is derived by taking the
15
     revenue generated by the employee on his route (based on invoices he generates), divided
16
17   by the total hours worked (both revenue-generating hours and non-revenue generating
18
     hours [i.e. hours spent at company-mandated meetings, hours accounted for on vacation
19
     days, weekend-shift hours, hours spent on mandated conference calls]), to determine the
20
21   "revenue/hour achieved." It is important to note that Ecolab had the power to, and
22
     regularly did, assign non-revenue generating hours to employees, which necessarily
23
     resulted in a lower "variable rate" for said employee, all else being equal. Then the
24
25   "revenue/hour" is compared to the route's "Target Revenue/Hour" yielding a percentage
26
     of target achieved. The "Variable Rate" is based on the percentage of target achieved
27
     pursuant to a payout schedule created by Ecolab. Under this scheme, if an employee's
28
                                                  7
                                              COMPLAINT
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     route hypothetically made $4,000 in revenue for 42 hours worked, his "revenue/hour"
 1
 2   would be $95.25. Thus, if an employee's "Target Revenue per Hour" as unilaterally
 3
     determined by Ecolab was $90, the $95.25 "revenue/hour" would be divided by the
 4
 5   "Target Revenue per Hour" of $90.00, resulting in 102.7% of the target achieved. Thus,

 6   if the example employee's "Target Variable Rate" assigned by Ecolab was $7.00, the
 7
     employee would receive 2.7% over $7 as the variable rate for the pay period, or $7.0189.
 8
 9   If the employee's base rate was $10.50, the regular rate (after adding the $7 plus variable
10   rate) would be about $17.52. In this example, overtime hours would be paid at 1.5 times
11
     $17.52. Using the same hypothetical, if the total hours worked were 55, the revenue/hour
12
13   would drop to $72.72. That figure divided by a "Target Revenue per Hour" of $90 results
14   in 80.8% of the target achieved. In that case, the variable rate would drop from the $7
15
     "Target Variable Rate" to $5.64. The regular rate would then be $16.15 and the overtime
16
17   rate would correspond to this lower rate. Aside from being unlawful under FLSA
18
     standards and California labor law, the above compensation plan had the effect of
19
     incentivizing Ecolab's employees to under-report actual hours worked in order to
20
21   maintain a higher "variable rate" for any given pay period.
22
           15.    Plaintiff alleges that during the relevant time period, he and other non-
23
     exempt Ecolab employees regularly worked more than eight (8) hours a work day and
24
25   forty (40) hours a work week. Under Ecolab's compensation scheme, the more hours
26
     they worked, the less their overtime rate was, and in some cases, depending on the hours
27
     they worked (including mandatory weekend duty) the overtime rate was drastically
28
                                                  8
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 1   reduced.

 2         16.    Plaintiffs allege that Ecolab's nationwide compensation scheme for its Pest
 3
     Elimination Division that was implemented in 2016 is the same as the California
 4
 5   compensation plan described herein.
 6         17.    Plaintiffs allege that other non-exempt Ecolab employees [i.e. not Service
 7
     Specialists] employed in California and nationwide are/were also subject to
 8
 9   compensation schemes that provide for an overtime rate that decreases as the worker's
10   hours increase and as a result, have not received full and correct pay for all hours worked.
11
           18.    Plaintiffs allege that Ecolab's state and nationwide compensation plans that
12
13   provide for an overtime rate that decreases as the worker's hours increase do not comply
14   with state and federal law.
15
           19.    Plaintiffs allege that due to the compensation plans that provide an overtime
16
17   rate that decreases as the worker's hours increase, Defendants failed to pay Plaintiffs all
18
     legal overtime wages due under state and federal law, including at the time of any
19
     termination of employment.
20
21         20.    Plaintiffs allege that due to the compensation plans that provide an overtime
22
     rate that decreases as the worker's hours increase, Defendants did not provide Plaintiffs
23
     with accurate wage statements under California law.
24
25         21.    Plaintiffs allege that due to the compensation plans that provide an overtime
26
     rate that decreases as the worker's hours increase, Defendants violated California's unfair
27
     competition laws.
28
                                                    9
                                                COMPLAINT
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 1
                           HISTORICAL POLICY OF OVERTIME LAWS

 2            22.    Under state and federal law, overtime compensation is based on an
 3
       employees' "regular rate." (See Labor Code § 510, Subd. (a); 29 U.S.C. § 207(1), (2).).
 4
 5     In California, "eight hours of labor constitutes a day's work. Any work in excess of eight

 6     hours in one workday . . . shall be compensated at the rate of no less than one and one-
 7
       half times the regular rate of pay for an employee." (Labor Code § 510).
 8
 9            23.    The FLSA requires "employers to compensate employees for hours in
10     excess of 40 per week at a rate of 1 1/2 times the employees' regular wages." (29 U.S.C.
11
       § 207(a)).
12

13            24.    To calculate the "regular rate" of pay under California law, all remuneration
14
       received by an employee in a workweek in which overtime is not worked is included in
15
       the calculation. (29 U.S.C. § 207(e).1 An artificial "regular rate" of pay may not be
16
17     used for the purposes of calculating overtime. (29 C.F.R. § 778.500).
18
              25.    29 C.F.R. § 778.316 states in part that:
19
20            [T]he parties cannot lawfully agree that the rate" that is "applicable to a
              particular type of work" "shall be lower merely because the work is
21            performed during the statutory overtime hours, or during a week in which
22            statutory overtime is worked.

23            26.    29 C.F.R. § 778.327 states in part:
24
              [W]here different rates are paid from week to week for the same work and
25            where the difference is justified by no factor other than the number of hours
26

27     ' The California Division of Labor Standards Enforcement adheres to federal standards with respect to
       the calculation of the "regular rate" of pay, and thus, federal regulations have been held "useful
28     guidance" in applying California overtime law. Huntington Mem '1 Hosp. v. Superior Court, 131
       Cal.App.4th 893, 902 (2005).
                                                        10
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             worked by the individual employee — the longer he works the lower the rate
 1
             — the devise is evasive and the rate actually paid in the shorter or
 2           nonovertime [period] is his regular rate for overtime purposes in all weeks.
 3           (Emphasis added).

 4           See also Walling v. Youngerman-Reynolds Hardwood Co., 325 U.S. 419, 424
 5
       (1945) ["regular rate refers to the hourly rate actually paid the employee for the normal,
 6
 7     non-overtime workweek"].).
 8
             27.    The scheme of varying the rate of pay, which decreases as the length of the
 9
10     workweek increases, is expressly held as invalid under federal regulation. (See 29 C.F.R.
11     §§ 778.321 through 778.329.
12
13           28.    29 C.F.R. § 778.500 provides in part:

14
             (a) Since the term regular rate is defined to include all remuneration for
15           employment (except statutory exclusions) whether derived from hourly
16           rates, piece rates, production bonuses or other sources, the overtime
17           provisions of the act cannot be avoided by setting an artificially low hourly
             rate upon which overtime pay is to be based and making up the additional
18           compensation due to employees by other means. The established hourly rate
19           is the "regular rate" to an employee only if the hourly earnings are the sole
20           source of their compensation. Payment for overtime on the basis of an
             artificial "regular" rate will not result in compliance with the overtime
21           provisions of the Act.
22           (b) It may be helpful to describe a few schemes that have been attempted
23           and to indicate the pitfalls inherent in the adoption of such schemes. The
             device of the varying rate which decreases as the length of the workweek
24
             increases has already been discussed in §§ 778.321 through 778.329. It
25           might be well, however, to re-emphasize that . . . the hourly rate
26           [cannot]vary from week to week inversely with the length of the workweek.
27
             ///
28
                                                   11
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 1
                                CLASS ACTION ALLEGATIONS
2
 3           29.    Plaintiff brings this action on his own behalf, and behalf of all persons

 4     similarly situated. The class represents and consists of all current and former employees
 5
       of Ecolab who are/were non-exempt; who have worked in California for Ecolab during
 6
 7     the last four years, who were paid pursuant to a compensation structure that provided for

 8
       an overtime rate that decreased as the worker's hours increased and as a result, have not
 9
       received full and correct pay for all hours worked, and have not received accurate
10
11     itemized wage statements required pursuant to Labor Code section 226 (the "California
12
       class").
13
             30.    There is a well-defined community of interest in the questions about law and
14
15     fact affecting the classes Plaintiff represents. The class members' claims against
16
       Defendants involve questions of common or general interest, in that each was employed
17
       by Defendants and each was not paid wages owed based on the same compensation
18
19     scheme whereby the overtime rate decreased as the worker's hours increased and as a
20
       result, have not received full and correct pay for all hours worked. These questions are
21
       such that proof of a state of facts common to the members of the class will entitle each
22
23     member of the class to the relief requested in this complaint. The California class
24
       represents in excess of 375 individuals.
25
26           31.    Plaintiffs have no plain, speedy, or adequate remedy at law against

27     Defendants, other than by maintenance of this class action, because Plaintiffs are
28
       informed and believe, and on information and belief allege, that the damage to each
                                                     12
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       member of the class is relatively small and that it would be economically feasible to seek
 1
 2     recovery against Defendants other than by a class action.
 3
              32.      Plaintiff Doug Miner will fairly and adequately represent the interest of the
 4
 5     class, because Plaintiff is a member of the class and Plaintiffs' claims are typical of those

 6     in the class.
 7
              33.      Plaintiff's counsel will fairly and adequately represent the interest of the
 8
 9     class, as they are experienced wage-and-hour litigators who have been appointed as Class
10     Counsel in numerous class action employment cases, including several successful cases
11
       against Ecolab Inc.
12
13                             COLLECTIVE ACTION ALLEGATIONS
14           34.       Plaintiff Miner brings this action on behalf of himself and other similarly
15
       situated employees as authorized under the FLSA, 29 U.S.C. § 216(b). The employees
16
17     similarly situated are as follows:
18
                       a. FLSA Collective: All current and former employees of Ecolab
19
             who are/were non-exempt, who have worked nationwide for Ecolab at any
20
21           time between March 24, 2014 and the trial of this action (the "Collective
22
             Period"), who were paid pursuant to a compensation structure that provided
23
             for an overtime rate that decreased as the worker's hours increased and, as a
24
25           result, have not received full and correct pay for all hours worked.
26
             35.       Upon information and belief, Defendants knew that Plaintiff Miner and the
27
       FLSA Collective performed work that required overtime pay. Defendants operated under
28
                                                      13
                                                  COMPLAINT
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       a scheme to deprive these employees of overtime compensation by failing to properly
 1
 2     compensate them for all hours worked. Specifically, Defendants compensated Plaintiff
 3
       Miner and the FLSA Collective using a compensation structure that provided for an
 4
 5     overtime rate that decreased as the workers' hours increased.

 6           36.    Defendants are liable under the FLSA for failing to properly compensate
 7
       Plaintiff Miner and the FLSA Collective, and as such, notice should be sent to the
 8
 9     Collective. There are numerous similarly situated current and former workers who have
10     been denied overtime pay by Defendants in violation of the FLSA who would benefit
11
       from the issuance of Court-supervised notice of this lawsuit and the opportunity to join.
12
13     Those similarly situated workers are known to Defendants and should be readily
14     identifiable through Defendants' records.
15
             37.    The FLSA Collective represents over 3,000 individuals.
16
17                                  FIRST CAUSE OF ACTION
18
        (Failure to Pay Wages Against Defendants Ecolab Inc. and Does 1 through 100)
19
             38.    Plaintiffs refer to paragraphs 1 through 37, and incorporate the same by
20
21     reference as though fully set forth herein.
22
             39.    Plaintiffs in the California class are employees who have been working for
23
       Defendants in California within four years of the date of filing this Complaint. Plaintiffs
24
25     and the class worked as non-exempt employees for Defendants pursuant to a
26
       compensation plan that resulted in variable and decreasing overtime rates for work
27
       performed, and in some instances, a decrease in overall pay despite an increase in hours
28
                                                     14
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 1     worked.

 2           40.    Plaintiffs and all members of the California class regularly worked over
 3
       eight (8) hours in one workday and forty (40) hours in one workweek for which they were
 4
 5     not paid the correct hourly wage. It is alleged that Defendants intentionally denied the

 6     California class wages which should have been paid and violated California Labor Code
 7
       section 510 and applicable IWC wage orders by failing to pay wages as allowed by law.
 8
 9           41.    Labor Code section 200 defines "wages" as including all amounts for labor
10     performed by employees of every description, whether the amount is fixed or ascertained
11
       by the standard of time, task, piece, commission basis, or other method of calculation.
12
13           42.    California Labor Code section 202 provides that all wages shall become due
14     and payable not later than 72 hours after the employee provides notice of his intention to
15
       quit. In this case, Defendants, and each of them, have refused and continue to refuse to
16
17     pay Plaintiffs' wages.
18           43.    Pursuant to California Labor Code section 203, it is alleged that Defendants
19
       have willfully failed to pay without abatement or reduction, in accordance with Labor
20
21     Code sections 201, 2015, 202, all of the wages of the Plaintiffs. Defendants are aware
22
       that they owe the wages claimed, yet they have willfully failed to make payment. As a
23
       result, Plaintiffs seek wages and penalties pursuant to Labor Code section 203.
24
25           44.    Plaintiff and members of the California class have been available and ready
26
       to receive wages owed to them, including overtime wages.
27
             45.   Defendants' failure to pay Plaintiff's and the California class members'
28
                                                   15
                                               COMPLAINT
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       wages due and owing Plaintiffs, as indicated in prior paragraphs, was willful; Defendants

 2     have knowingly refused to pay any portion of the amount due and owing Plaintiffs.
 3
             46.    Pursuant to Labor Code Sections 218.5 and 1194, Plaintiffs request the
 4
 5     Court to award Plaintiff's reasonable attorneys' fees and costs incurred in this action.

 6     Plaintiffs also request all unpaid wages, waiting time penalties and interest.
 7
                                   SECOND CAUSE OF ACTION
 8
 9                 (FLSA Overtime Violations, 29 U.S.C. §§201 et seq. Against
10                        Defendants Ecolab Inc. and Does 1 through 100)
11
             47.    Plaintiffs refer to paragraphs 1 through 46, and incorporate the same by
12
13     reference as though fully set forth herein.
14           48.    The FLSA regulates, among other things, the payment of overtime pay by
15
       employers whose employees are engaged in commerce, or engaged in the production of
16
17     goods for commerce, or employed in an enterprise engaged in commerce or in the
18
       production of goods for commerce. 29 U.S.C. § 207(a)(1).
19
             49.    Plaintiffs are informed and believe and thereon allege that at all relevant
20
21     times, Defendants were "employers" engaged in interstate commerce and/or in the
22
       production of goods for commerce, within the meaning of the FLSA, 29 U.S.C. § 203.
23
       At all relevant times, Plaintiff Miner and each member of the FLSA Collective worked
24
25     for Defendants.
26
             50.    Plaintiff Miner consents in writing to be a part of this action, pursuant to 29
27
       U.S.C. § 216(b). As this case proceeds, it is likely that other individuals will sign consent
28
                                                     16
                                                COMPLAINT
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 1     forms and join as plaintiffs.

 2           51.    Section 7(a)(1) of the FLSA, 29 U.S.C. 207(a)(1), requires employers to pay
 3
       non-exempt employees who work longer than forty (40) hours in a workweek one and
 4
 5     one-half times the employee's regular rate of pay for the hours worked in the workweek

 6     in excess of forty (40) in a workweek. Defendants violated the FLSA by refusing to pay
 7
       the FLSA Collective overtime as required by law.
 8
 9           52.    Throughout the statute of limitations period covered by these claims,
10     Plaintiff and members of the FLSA class regularly worked in excess of forty (40) hours
11
       per workweek and continue to do so.
12
13           53.    At all relevant times, Defendants have operated under and continue to
14     operate under a compensation structure that provided for an overtime rate that decreased
15
       as the employee's hours increased and, as a result, Defendants do/did not pay Plaintiffs
16
17     at proper overtime rates for work in excess of forty (40) hours per workweek in violation
18     of 29 U.S.C. §§ 201 et seq.
19
             54.    Defendants' violations of the FLSA as alleged herein have been done in a
20
21     willful and bad faith manner such that the FLSA Collective are entitled to damages equal
22
       to the amount of overtime premium pay within the three years preceding the filing of this
23
       complaint, plus periods of equitable tolling. As a result of the aforesaid willful violations
24
25     of the FLSA, overtime compensation has been unlawfully withheld by Defendants from
26
       Plaintiff Miner and similarly situated persons for which Defendants are liable under 29
27
       U.S.C. § 216(b), together with an additional equal amount as liquidated damages, as well
28
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       as interest, reasonable attorneys' fees and costs.
 1
 2           55.    Plaintiff Miner, on behalf of himself and the FLSA Collective, seeks
 3
       damages in the amount of all unpaid overtime compensation owed to him and the FLSA
 4
 5     Collective, liquidated damages as provided by the FLSA, 29 U.S.C. § 216(b), interest,

 6     and such other legal and equitable relief as the Court deems just and proper.
 7
             56.    The employment and work records for the Plaintiff and the FLSA
 8
 9     Collective, such that they do exist, are in the exclusive possession, custody, and control
10     of Defendants, and Plaintiff Miner is unable to state at this time the exact amount owing
11
       to him and the FLSA Collective. Defendants are under a duty imposed by 29 U.S.C. §
12
13     211(c) and the regulations of the U.S. Department of Labor to maintain and preserve
14     Plaintiff Miner's payroll and other employment records from which the amounts of the
15
       defendants' liability can be ascertained.
16
17           57.    Plaintiff Miner, on behalf of himself and the FLSA Collective, seeks
18     recovery of attorneys' fees and costs to be paid by Defendants, as provided by the FLSA,
19
       29 U.S.C. § 216(b).
20
21                                  THIRD CAUSE OF ACTION
22
              (Failure to Provide Accurate Itemized Wage Statements in Violation
23
                Of Labor Code § 226 Against Ecolab Inc. and Does 1 through 100)
24
25           58.    Plaintiffs refer to paragraphs 1 through 57, and incorporate the same by
26
       reference as though fully set forth herein.
27
             59.    At all times relevant hereto, California Labor Code § 226 required
28
                                                      18
                                                   COMPLAINT
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       Defendants, at the time of each payment of wages, to furnish each of their employees,
 1
 2     either as a detachable part of the check, draft, or voucher paying the employee's wages,
 3
       or separately when wages are paid by personal check or cash, an itemized statement in
 4
 5     writing showing, among other things, the gross wages earned and total hours worked by

 6     the employee, except for any employee whose compensation is solely based on a salary
 7
       and who is exempt from payment of overtime under subdivision (a) of Section 515 of any
 8
 9     applicable order of the Industrial Welfare Commission.
10           60.    Plaintiff alleges that he and members of the California class are employees
11
       who are not exempt from payment of overtime under California law.
12
13           61.    Labor Code § 226, including subsection (e), provides that if an employer
14     knowingly and intentionally fails to provide a statement itemizing, inter alia, the total
15
       hours worked by the employee, then the employee is entitled to recover the greater of all
16
17     actual damages or fifty dollars ($50) for the initial violation and one hundred dollars
18
       ($100) for each subsequent violation, up to four thousand dollars ($4,000).
19
             62.    Plaintiffs allege that within a year prior to filing of the complaint, as a pattern
20
21     and practice, in violation of Labor Code § 226(a), Defendants have knowingly and
22
       intentionally failed to provide Plaintiffs and the California class with accurate itemized
23
       wage statements in writing showing all applicable hourly rates in effect during each
24
25     respective pay period and the corresponding number of hours worked by each respective
26
       individual, including overtime worked.
27
             63.    As a proximate result of Defendants' failure to provide accurate itemized
28
                                                     19
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       wages statements, Plaintiff and members of the California class have suffered actual
 1
 2     damages and harm by being unable to determine their applicable hourly rate or the
 3
       amount of overtime worked each pay period, which prevented them from becoming
 4
 5     aware of these violations and asserting of their statutory protections under California law.

 6           64.    Pursuant to Labor Code Section 226(e), Plaintiff and members of the
 7
       California class are entitled to recover the greater of all actual damages or fifty dollars
 8
 9     ($50.00) for the initial pay period in which a violation occurred and one hundred dollars
10     ($100.00) per employee for each violation in a subsequent pay period, not exceeding an
11
       aggregate penalty of four thousand dollars ($4,000.00)
12
13                                 FOURTH CAUSE OF ACTION
14          (Unfair Business Practices in Violation of Cal. Bus. & Prof. Code § 17200
15
                      Against Defendant Ecolab Inc. and Does 1 through 100)
16
17           65.    Plaintiffs refer to paragraphs 1 through 64, and incorporate the same by
18
       reference as though fully set forth herein.
19
             66.    This cause of action is being brought pursuant to Business and Professions
20
21     Code Section 17200 et seq. and California case law, including Cortez v. Purolator Air
22
       Filtration Products Co. (2000) 23 Cal.App.4th 163.
23
             67.    It is alleged that Defendants have willfully failed to pay employees wages
24
25     owed. Defendants' failure to pay both current employees and past employees their
26
       wages, which are owed under California and Federal wage and hour laws pursuant to
27
       Aguilar v. Association for Retarded Citizens (1991) 234 Cal.App.3d 21, constitutes an
28
                                                     20
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       unfair business practice under California Business and Professions Code section 17200
 1
 2     et seq. and pursuant to California case law, including Harris v. Investor's Business Daily,
 3
       Inc. (2006) 138 Cal.App.4th 28.
 4
 5           68.    As a result of the conduct of Ecolab Inc. and Does 1 through 100, Defendants

 6     profited from breaking the law. Plaintiffs seek disgorgement of this unlawfully obtained
 7
       benefit.
 8
 9           69.    California Business and Professions Code section 17203, under the authority
10     of which a restitutionary order may be made, provides:
11
             Any person who engages, has engaged, or proposes to engage in unfair
12
13           competition may be enjoined in any court of competent jurisdiction. The
14           court may make such orders or judgments, including the appointment of a
15
             receiver, as may be necessary to prevent the use of employment by any
16
17           person of any practice which constitutes unfair competition, as defined in
18
             this chapter, or as may be necessary to restore to any person in interest any
19
             money or property, real or personal, which may have been acquired by
20
21           means of such unfair competition. Any person may pursue representative
22
             claims or relief on behalf of others only if the claimant meets the standing
23
             requirements of Section 17204 and complies with Section 282 of the Code
24
25           of Civil Procedure, but these limitations do not apply to claims brought
26
             under this chapter by the Attorney General, or any district attorney, county
27
             counsel, city attorney, or city prosecutor in this state.
28
                                                    21
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             70.    As a result of the alleged aforesaid actions, Plaintiffs have suffered injury in
 1
 2     fact and have lost money as a result of such unfair competition.
 3
             71.    In this case, it is requested that this Court order such restitution.
 4
 5           WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of

 6     them in favor of themselves and the classes as follows:
 7
       As to First Cause of Action for Failure to Pay Wages
 8
 9        1. For certification of a class, a class representative, and class counsel, pursuant to
10     this claim, consistent with the requirements of Fed. R. Civ. P. Rule 23;
11
          2. For wages owed according to proof;
12
13        3. For prejudgment interest at the statutory rate;
14        4. For statutory penalties pursuant to law;
15
          5. For reasonable attorneys' fees pursuant to Labor Code sections 218.5 and 1194;
16
17        6. For costs of suit; and
18
          7. For any other and further relief that the Court considers just and proper.
19
       As to Second Cause of Action for FLSA Overtime Violations
20
21        1. Designation of this action as a collective action on behalf of the Plaintiffs and the
22
       class they seek to represent pursuant to the Fair Labor Standards Act claims and a prompt
23
       issuance of notice pursuant to 29 U.S.C. §216(b), to all similarly situated members of the
24
25     FLSA opt-in class apprising them of the pendency of this action, permitting them to assert
26
       timely FLSA claims in this action by filing individual consent to sue forms pursuant to
27
       29 U.S.C. §216(b) and equitable tolling of the statute of limitations from the date of filing
28
                                                    22
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       this Complaint until the expiration of the deadline for filing consent to sue forms pursuant
 1
 2     to 29 U.S.C. §216(b);
 3
          2. A declaratory judgment that the practices complained of herein are unlawful under
 4
 5     the FLSA 29 U.S.C. §201 et seq.;

 6        3. For wages owed according to proof;
 7
          4. For liquidated damages as provided by the FLSA;
 8
 9        5. For prejudgment interest at the statutory rate;
10        6. For reasonable attorneys' fees;
11
          7. For costs of suit; and
12
13        8. For any other and further relief that the Court considers just and proper.
14     As to Third Cause of Action for Failure to Provide Accurate Wales Statements
15
          1. For certification of a class, a class representative, and class counsel, pursuant to
16
17     this claim, consistent with the requirements of Fed. R. Civ. P. Rule 23;
18        2. For an award of fifty dollars ($50.00) for the initial pay period in which a violation
19
       occurs and one hundred dollars ($100.00) per employee for each violation in a subsequent
20
21     pay period, not exceeding an aggregate penalty of four thousand dollars ($4,000.00);
22
          3. For an award of reasonable attorneys' fees and costs pursuant to Labor Code
23
       section 226(h);
24
25        4. Injunctive relief pursuant to Labor Code section 226(h) to ensure Defendants'
26
       compliance with Labor Code section 226.
27
          5. For such other and further relief as the Court may deem appropriate.
28
                                                    23
                                                COMPLAINT
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 1     As to Fourth Cause of Action for Unfair Competition

 2        1. For certification of a class, a class representative, and class counsel, pursuant to
 3
       this claim, consistent with the requirements of Fed. R. Civ. P. Rule 23;
 4
 5        2. For an equitable order, ordering Defendants to pay all former and current non-

 6     exempt class employees all wages, interest, and penalties they are owed;
 7
          3. For an appointment of a receiver to perform an accounting of all monies owed to
 8
 9     these employees;
10        4. For any and all injunctive relief this Court deems necessary pursuant to California
11
       Business and Professions Code section 17203;
12
13        5. For prejudgment interest pursuant to Civil Code sections 3288 and 3291 on all
14     amounts claimed; and
15
          6. For such other and further relief that the Court deems just and proper.
16
17                                 DEMAND FOR JURY TRIAL
18
              Plaintiffs hereby demand trial of their claims by jury to the extent authorized by
19
       law.
20
21     Dated: March 24, 2017             HATHAWAY, PERRETT, WEBSTER, POWERS,
                                         CHRISMAN & GUTIERREZ, APC
22
23                                  By           /s/
                                         ALEJANDRO P. GUTIERREZ
24
                                         Attorneys for Plaintiffs and the Class
25
       Dated: March 24, 2017             PALAY HEFELFINGER, APC
26
27                                  By           /s/
                                         DANIEL J. PALAY
28
                                         Attorneys for Plaintiffs and the Class
                                                    24
                                                COMPLAINT
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 1
       Dated: March 24, 2017          STRAUSS & STRAUSS, APC
 2
 3
 4                               By           /s/
 5                                    ARIS KARAKALOS
                                      Attorneys for Plaintiffs and the Class
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